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     J.R.A. and A.M.P., Petitioners  v.  The People of the State of Colorado, Respondent  v.  In the Interest of Minor Child: V.F-M.A. No. 24SC727Supreme Court of Colorado, En BancDecember 24, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 24CA569
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petitions
      for Writ of Certiorari DENIED.
    